                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                             CIVIL ACTION NO.: 5:19-cv-00327-FL

 MANUEL TORRES,                                 )
                                                )
                Plaintiff,                      )
                                                )
 vs.                                            )
                                                    DEFENDANT TOWN OF APEX’S
                                                )
                                                       CONSENT MOTION FOR
 TRACY LYNN CARTER, in his official             )
                                                    EXTENSION OF TIME TO MOVE,
 capacity as Lee County Sheriff; TOWN           )
                                                        SERVE AN ANSWER OR
 OF SILER CITY, NORTH CAROLINA;                 )
                                                         OTHERWISE PLEAD
 and TOWN OF APEX, NORTH                        )
 CAROLINA,                                      )
                                                )
                Defendants.                     )
                                                )

       NOW COMES Defendant, Town of Apex, North Carolina, (hereinafter “Defendant

Apex” or “Defendant”), by and through its undersigned counsel, and, pursuant to Rule 6(b) of

the Federal Rules of Civil Procedure and Local Rules 6.1(a) and 77.2(a), moves this Court for an

Order extending the time allowed to move, serve an Answer or otherwise plead to Plaintiff’s

Complaint. In support to this Consent Motion, Defendant states as follows:

       1.    Plaintiff’s Complaint was filed in this Court on July 31, 2019. (See, DE # 1).

       2.    Defendant was served with the Summons and a copy of the Complaint via certified

mail on August 12, 2019.

       3.    Pursuant to Rule 12(a)(1)(A) of the Federal Rules of Civil Procedure, Defendant’s

deadline to move, serve an Answer or otherwise plead is currently due to be served no later than

September 3, 2019. Thus, the time has not yet expired for Defendant to move, serve an Answer,

or otherwise plead to Plaintiff’s Complaint.




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       4.    There is information which needs to be reviewed before the undersigned will be able

to adequately prepare and serve responsive pleadings, and therefore, Defendant requests an

additional thirty (30) days within which to move, serve an Answer, or otherwise plead, up to and

including October 3, 2019.

       5.    Plaintiff’s counsel, Brennan Brooks has been consulted and has consented to a thirty

(30) day extension of time for Defendant to move, serve an Answer or otherwise plead.

       6.    Defendant files this request without waiving any defenses to the claims asserted by

Plaintiff, whether substantive, procedural or otherwise, or conceding that Plaintiff has alleged

claims upon which relief may be granted. Defendant specifically reserves all of its defenses

pursuant to Rule 12 of the Federal Rules of Civil Procedure.

       7.    This Consent Motion is filed in good faith for the reasons stated and not for purposes

of delay.

       WHEREFORE, Defendant respectfully requests that its Consent Motion for an

enlargement of time to move, serve an Answer or otherwise plead be granted and, as a result, that

Defendant be allowed up to and including October 3, 2019, to move, serve an Answer or

otherwise plead to Plaintiff’s Complaint.

       Respectfully submitted, this the 19th day of August, 2019.

                                                      JACKSON LEWIS P.C.

                                             BY:      /s/ Paul S. Holscher
                                                      PAUL S. HOLSCHER
                                                      N.C. State Bar No. 33991
                                                      Attorney for Defendant Apex
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 MANUEL TORRES,                                      )
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                       Plaintiff,                    )
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 vs.                                                 )
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 TRACY LYNN CARTER, in his official                  )              CERTIFICATE OF
 capacity as Lee County Sheriff; TOWN                )                 SERVICE
 OF SILER CITY, NORTH CAROLINA;                      )
 and TOWN OF APEX, NORTH                             )
 CAROLINA,                                           )
                                                     )
                       Defendants.                   )
                                                     )

        The undersigned counsel certifies that on August 19, 2019, the foregoing Defendant Town
of Apex’s Consent Motion for Extension of Time to Move, Serve an Answer, or Otherwise Plead was
electronically filed with the Clerk of the Court, using the Court’s CM/ECF electronic service
system, which will send notification of such filing as follows:

                                           Brennan Tyler Brooks
                                     Law Office of B. Tyler Brooks, PLLC
                                           4050 Yellowfield Way
                                               Cary, NC 27518
                                        btb@btylerbrookslawyer.com
                                              Attorney for Plaintiff

                                                            JACKSON LEWIS P.C.


                                                   BY:      /s/ Paul S. Holscher
                                                            PAUL S. HOLSCHER
                                                            N.C. State Bar No. 33991
                                                            Attorney for Defendant Apex
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